     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 1 of 8 Page ID #:1




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 9
10                                  UNITED STATES DISTRICT COURT
11              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
12
13     DANIELLE HUBMER, Individually and            Case No.: 5:20-cv-1369
       on Behalf of All Others Similarly
14     Situated,                                    DEFENDANT WALMART INC.’S
                                                    NOTICE OF REMOVAL OF CLASS
15                     Plaintiff,                   ACTION (28 U.S.C. §§ 1332, 1446, &
                                                    1453).
16             v.
                                                    [Filed concurrently with Declaration of
17     WALMART, INC.; and Does 1-100,               Rachel E. K. Lowe; and Certificate of
                                                    Service.]
18                     Defendants.
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                                           NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 2 of 8 Page ID #:2




 1     TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO ALL
 2     INTERESTED PARTIES:
 3             PLEASE TAKE NOTICE that Defendant Walmart Inc. (“Walmart”) hereby
 4     removes to this Court, pursuant to 28 U.S.C. §§ 1332, 1446, and 1453, as amended in
 5     relevant part by the Class Action Fairness Act of 2005 (“CAFA”), the action entitled
 6     Danielle Hubmer v. Walmart, Inc., originally filed in the Superior Court of the State of
 7     California, County of Riverside and assigned Case No. RIC2001569 (the “State Court
 8     Action”). The grounds for removal are set forth herein.
 9     I.      INTRODUCTION
10             On or about June 8, 2020, Plaintiff Danielle Hubmer (“Plaintiff”) commenced
11     the State Court Action, alleging causes of action on a representative basis for (1)
12     violation of Civ. Code § 1750, et seq.; (2) unfair business practices in violation of
13     California Business & Professions Code § 17200, et seq.; (3) unlawful business
14     practices in violation of California Business & Professions Code § 17200, et seq.; (4)
15     breach of contract; and (5) violation Civ. Code § 1723, et seq. Plaintiff alleges that she
16     and members of a putative class of California residents purchased item(s) from Walmart
17     and were denied a return because of a change in Walmart’s return policy due to COVID-
18     19. A copy of the Complaint is attached hereto as Exhibit “A.” On June 9, 2020,
19     Plaintiff served the Complaint on Walmart’s registered agent. (Exhibit B).
20     II.     THIS COURT HAS JURISDICTION UNDER CAFA
21             Walmart removes the State Court Action pursuant to CAFA, codified under 28
22     U.S.C. § 1332(d).
23             Signed into law on February 18, 2005, CAFA significantly expanded federal
24     subject matter and removal jurisdiction over class actions. CAFA vests original
25     jurisdiction for class actions in federal court where there is minimal diversity and the
26     amount in controversy exceeds $5,000,000. 28 U.S.C. § 1332(d).
27             CAFA’s requirements are satisfied here, as set forth below:
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                                          NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 3 of 8 Page ID #:3




 1             A.      Class Action.
 2             The State Court Action is a class action as defined by CAFA. According to
 3     CAFA:
 4                     [T]he term “class action” means any civil action filed under
                       rule 23 of the Federal Rules of Civil Procedure or similar
 5                     State statute or rule of judicial procedure authorizing an
                       action to be brought by 1 or more representative persons as a
 6                     class action.
 7     28 U.S.C. § 1332(d)(1)(B).
 8             Plaintiff’s Complaint alleges a putative class action on behalf of herself and a
 9     proposed class defined as “all California residents who (1) purchased an item from
10     [Walmart]; and (2) were denied a return despite complying with all terms in Walmart’s
11     longstanding and well disclosed return policy.” (See Exhibit A, ¶¶ 1-2). The State
12     Court Action therefore meets the definition of a “class action” under CAFA.
13             B.      Removal Under CAFA.
14             CAFA provides that a class action against a non-governmental entity may be
15     removed if: (1) the number of proposed class members is not less than 100; (2) any
16     member of the proposed plaintiff class is a citizen of a state different from any
17     defendant; and (3) the aggregate amount in controversy exceeds $5 million, excluding
18     interests and costs. 28 U.S.C. § 1332(d), (d)(5), and § 1453(b). These requirements are
19     met here.
20                     1.    The Number of Proposed Class Members Is At Least 100.
21             First, numerosity is satisfied based on the allegations in the Complaint. Plaintiff
22     asserts in the Complaint that there are “tens of thousands, if not hundreds of thousands”
23     of persons in the proposed class. (See Exhibit A, ¶ 18).
24                     2.    Diversity of Citizenship Under CAFA.
25             Minimal diversity is met here because Plaintiff is a citizen of California, and
26     defendant Walmart is a citizen of states other than California.
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                                            NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 4 of 8 Page ID #:4




 1             “[U]nder CAFA, complete diversity is not required; ‘minimal diversity’
 2     suffices.” Serrano v. 1800 Connect, Inc., 478 F.3d 1018, 1021 (9th Cir. 2007). Minimal
 3     diversity” is met when “any member of a class of plaintiffs is a citizen of a State
 4     different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
 5             An individual is a citizen of the state where he or she resides. 28 U.S.C. §
 6     1332(a)(1). Plaintiff is an individual that resides in California, and as such, is a citizen
 7     of the State of California. (See Exhibit A, ¶ 4 & Declaration of Danielle Hubmer
 8     attached thereto).
 9             Walmart is not a citizen of California. A corporation is deemed a citizen of “any
10     State by which it has been incorporated and of the State where it has its principal place
11     of business.” 28 U.S.C. § 1332(c)(1); The Hertz Corp. v. Friend, 559 U.S. 77, 78 (2010)
12     (for diversity jurisdiction, “principal place of business” refers to the “nerve center” of
13     the corporation which is where a corporation’s officers direct, control, and coordinate
14     the corporation’s activities). At the time of commencement of this lawsuit and as of the
15     date of this Notice of Removal, Walmart was and is a Delaware corporation with its
16     principal place of business in Arkansas. (Lowe Decl., ¶ 2, Ex. 1). Therefore, Walmart
17     is a citizen of the states of Delaware and Arkansas. At least one member of the proposed
18     class is a citizen of a state different from Walmart within the meaning of 28 U.S.C. §
19     1332(d)(2)(A), and therefore CAFA’s diversity of citizenship requirement is satisfied.
20     The diversity that exists in this action not only satisfies the minimal diversity of
21     citizenship requirement under CAFA, but also precludes the applicability of exceptions
22     in 28 U.S.C. § 1332(d)(4)(A)-(B) because no defendant is located in California.
23                     3.   Amount in Controversy.
24             CAFA’s third requirement – that the aggregate amount in controversy, exclusive
25     of interest and costs, exceed $5 million – is also satisfied. 28 U.S.C. § 1332(d)(2).
26     Although Walmart asserts that the allegations in the Complaint are without merit and
27     that neither Plaintiff, nor the putative class members have suffered any injury,
28     the alleged amount in controversy here exceeds $5 million.
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                                           NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 5 of 8 Page ID #:5




 1             As the Supreme Court has explained, a removing defendant need only plausibly
 2     allege that the amount in controversy exceeds CAFA’s threshold, “[i]n sum, as specified
 3     in §1446(a), a defendant’s notice of removal need include only a plausible allegation
 4     that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee
 5     Basin Operating Co., LLC v. Owens, 574 U.S. 81, 88-89 [135 S.Ct. 547, 553-554, 190
 6     L.Ed.2d 495, 503] (2014); see also Ehrman v. Cox Communs., Inc., 932 F.3d 1223,
 7     1227-1228 (9th Cir. 2019) (explaining “The district court also erred by placing on Cox
 8     a burden to prove its jurisdictional allegations in response to Ehrman’s facial challenge.
 9     … Because ‘no antiremoval presumption attends cases invoking CAFA,’ Dart
10     Cherokee, 135 S. Ct. at 554, courts should be especially reluctant to sua
11     sponte challenge a defendant’s allegations of citizenship.”).
12             In the Complaint, Plaintiff defines the class as all persons in California who
13     purchased an item from Walmart and were denied a return despite complying with
14     Walmart’s allegedly long-standing return policy, which she estimates to include tens of
15     thousands, if not hundreds of thousands of persons. (See Exhibit A, ¶¶ 2, 18). She does
16     not limit the putative class by time period. Elsewhere in the Complaint, however,
17     Plaintiff generally alleges that Walmart’s return policy in California changed due to the
18     COVID-19 pandemic on April 20, 2020. (Id., ¶ 1). Plaintiff claims there are “thousands
19     of complaints” regarding Walmart’s return policy, and that alleged misinformation
20     concerning the policy was “pervasive.” (Id., ¶ 15). She also alleges that the items she
21     wished to return, but could not, had a dollar value of $151.99. (Id., ¶ 26). Plaintiff
22     further asserts that the classwide damages include the “full amount of the purchase
23     prices of the goods [the putative class members] purchased.” (Id., ¶ 43). Plaintiff’s
24     lawsuit also seeks restitution, declaratory, injunctive, and/or other equitable relief,
25     punitive damages, and attorneys’ fees. (See Exhibit A, Prayer for Relief).
26             The amount in controversy for the relief Plaintiff seeks on behalf of the putative
27     class, which includes the full value of purchased products that would have otherwise
28     been returned, exceeds $5 million. The time period between when Plaintiff allegedly
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                                           NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 6 of 8 Page ID #:6




 1     attempted to return her apparel and other items, but was unsuccessful (April 27, 2020),
 2     and the date of removal (July 9, 2020), is over 10 weeks. (See Exhibit A, ¶¶ 11-12.)
 3     For Walmart’s California stores alone, the average total dollar amount of returns per
 4     month to those stores in the twelve-month period leading up to April 2020 exceeds $5
 5     million. Accordingly, the total dollar amount of returns to California stores for a 10-
 6     week average in the twelve-month period leading up to April 2020 significantly exceeds
 7     $5 million. The alleged amount at issue in Plaintiff’s Complaint therefore exceeds the
 8     jurisdictional minimum under CAFA.
 9     III.    WALMART TIMELY FILED ITS NOTICE OF REMOVAL AND
10             SATISFIED ALL PROCEDURAL REQUIREMENTS
11             A.      This Notice of Removal is Timely Filed.
12             This notice of removal is timely pursuant to 28 U.S.C. §§ 1446(b) and 1453(b),
13     because it is filed within thirty (30) days after service of the Complaint on Walmart.
14     Here, Walmart’s registered agent was served with non-conformed copies of the
15     Summons and Complaint on June 9, 2020. (Exhibit B). Therefore, this Notice of
16     Removal, filed on July 9, 2020 – within 30 days of service – is timely filed pursuant to
17     28 U.S.C. §1446(b).
18             B.      Walmart Has Satisfied all Procedural Requirements.
19             Venue is proper. Plaintiff filed this action in the Superior Court of the State of
20     California, County of Riverside. Paragraph 2 of the Declaration of Danielle Hubmer
21     attached to the Complaint also asserts she purchased her products from a Walmart store
22     in Temecula, California, which falls within Riverside County. Accordingly, this action
23     is properly removed to this Court, which embraces Riverside County within its
24     jurisdiction. 28 U.S.C. §§ 1441(a), 1446(a).
25             Additionally, Walmart is the only defendant served.        Does 1-10, the Doe
26     defendants, have not been named or served and need not consent to this Notice of
27     Removal. See Soliman v. Philip Morris, Inc., 311 F.3d 966, 971 (9th Cir. 2002).
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                                           NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 7 of 8 Page ID #:7




 1             Finally, Walmart provided notice. Section 1446(a) requires a removing party to
 2     provide this Court with a copy of all “process, pleadings and orders” served on it in the
 3     State Court Action. True and correct copies of these documents are listed below:
 4                         Complaint (Exhibit A)
 5                         Service of Process Transmittal on Walmart (Exhibit B)
 6                         Summons to Walmart (Exhibit C)
 7             Pursuant to 28 U.S.C. section 1446(d), Walmart is filing a copy of the Notice of
 8     Removal with the Clerk of Riverside County Superior Court and serving Plaintiff with
 9     the same. A copy of the Notice to the Superior Court (which is being served on
10     Plaintiff), without exhibits, is attached hereto as Exhibit “D.”
11     IV.     CONCLUSION
12             WHEREFORE, Walmart respectfully submits that (1) CAFA applies to this
13     action because the proposed class contains at least 100 members, (2) at least one
14     member of the proposed class (and in fact all proposed members of the California class
15     action) is a citizen of a state different than Walmart’s state of citizenship and no other
16     CAFA exceptions apply, (3) the aggregate amount in controversy exceeds $5 million,
17     and (4) the procedural requirements under 28 U.S.C. § 1446 are met. For these reasons,
18     this action is properly removed to this Court.
19
        DATED: July 9, 2020                  JEFFREY A. ROSENFELD
20                                           RACHEL E. K. LOWE
                                             LISA GARCIA
21                                           ALSTON & BIRD LLP
22
23                                           /s/ Jeffrey A. Rosenfeld
                                             Jeffrey A. Rosenfeld
24                                           Attorneys for Defendant
                                             WALMART INC.
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                                          NOTICE OF REMOVAL
       LEGAL02/39891969v3
     Case 5:20-cv-01369-JGB-KK Document 1 Filed 07/09/20 Page 8 of 8 Page ID #:8




 1                                   CERTIFICATE OF SERVICE
 2             Rachel E. K. Lowe certifies and declares as follows:
 3             1.      I am over the age of 18 and not a party to this action.
 4             2.      My business address is Alston & Bird LLP, 333 S. Hope Street, 16th Floor,
 5     Los Angeles, California 90071, which is located in the city, county and state where the
 6     mailing described below took place.
 7             3.      On July 9, 2020, at my direction, my office deposited in a facility regularly
 8     maintained by UPS with delivery fees fully provided for, or delivered the envelope to a
 9     courier or driver of UPS authorized to receive documents at Alston & Bird LLP, 333 S.
10     Hope Street, 16th Floor, Los Angeles, CA 90071 with delivery fees fully provided for,
11     a copy of the DEFENDANT WALMART INC’S NOTICE OF REMOVAL OF
12     CLASS ACTION (28 U.S.C. §§ 1332, 1446, & 1453) addressed to:
13                     Mitch Kalcheim
                       KALCHEIM LAW GROUP, P.C.
14                     725 S. Figueroa Street, Suite 1750
                       Los Angeles, California 90017
15                     Telephone; 213-955-7142
                       Attorneys for Plaintiff Danielle Hubmer
16
17             I declare under penalty of perjury under the laws of the United States that the
18     foregoing is true and correct.
19             Executed on the 9th day of July 2020 at Los Angeles, California.
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21                                         /s/ Rachel E. K. Lowe
                                                         Rachel E. K. Lowe
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       LEGAL02/39891969v3
